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      UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MARYLAND


UNITED STATES OF AMERICA                              :
                                                      : 17-cr-589-JKB
                v.                                    :
                                                      :
FERMIN GOMEZ-JIMENEZ                                  :
                                                      :

                 MOTION TO SUPPRESS IDENTIFICATION EVIDENCE

       Fermin Gomez-Jimenez, by and through his undersigned counsel, respectfully moves this

Honorable Court to suppress all identifications evidence potentially offered by the government at

trial. Counsel submits the following, based on information and belief, in support thereof this

motion.

       1.       Mr. Gomez-Jimenez is charged in this indictment in both overt acts and

substantive acts with a murder on or about March 11, 2016 and the attempted murder of two

people on October 23, 2016.

       2.       As it relates to the attempted murders, counsel believes that Mr. Gomez-Jimenez

was identified by at least one complainant as well as two cooperating witnesses in out of court

identification procedures. The defense maintains that these out of court identification procedure

was so "impermissibly suggestive as to give rise to a substantial likelihood of irreparable

misidentification." Manson v. Braithwaite, 432 U.S. 98, 107 (1977). Counsel contends that any

in-court identification can only be elicited after demonstrating that any in-court identification by

the witness rests on a source independent of the tainted pretrial identification.

       3.       Defense counsel is unaware of any other identification procedure conducted with

any witness. Counsel is also not in possession of any documents or information that reveals the

exact procedure used by law enforcement officers for any identification procedure related to Mr.

Gomez-Jimenez to determine whether such was impermissibly suggestive and thus the
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identification should be excluded. The defense maintains the procedures were impermissibly

suggestive such that the government should be precluded from introducing the identification at

trial and/or precluded from eliciting an identification during witness testimony at trial.

       4.       To date, the government has not disclosed additional information about this

procedure that memorializes the identification procedure or the witness' exact statements in

connection with the identification.

       5.       Since counsel has not received complete information about the circumstances of

this one out of court identification or any other out of court identification that the government

will seek to introduce, counsel is unable to be more specific in this motion, but will supplement

argument, if necessary.

       6.       Identification evidence must be excluded at trial when police use a pretrial

identification procedure so impermissibly suggestive that it gives rise to a

"substantial likelihood of irreparable misidentification" in violation of the Due Process Clause.

Manson v. Braithwaite, 432 U.S. 98, 107 (1977). See also, Simmons v. United States, 390 U.S.

377, 384 (1968), and Stovall v. Denno, 388 U.S. 293, 301-02 (1967). "[R]eliability is in linchpin

in determining the admissibility of identification testimony." Mason v. Braithwaite, 432 U.S. at

114.

       7.       When a pretrial identification procedure is unnecessarily suggestive, the court

must weigh "the corrupting effect of the suggestive identification" against the criteria for the

reliable identification, including the opportunity of the witness to view the criminal at the time of

the crime, the witness' degree of attention, the accuracy of his prior description of the criminal,

the degree of certainty demonstrated at the confrontation, and the time between the crime and the

confrontation. Mason v. Braithwaite, 432 U.S. at 114.

       8.       After an out-of-court identification that was unduly suggestive, the



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prosecution can elicit an in-court identification only after demonstrating that any in-court

identification by the witness rests on a source independent of the tainted pretrial identification.

United States v. Wade, 388 U.S. 218, 241 (1967).

       WHEREFORE, Counsel requests that the out-of-court identification evidence be

suppressed from use at trial in this matter.

                                               Respectfully submitted,

                                               /s/ Jenifer Wicks
                                               _________________________
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                                   REQUEST FOR HEARING

       Pursuant to Rule 105.6 of the Local Rules of the United States District of Maryland, a

hearing is requested on the defendant’s motion.



                                               /s/ Jenifer Wicks
                                               _________________________
                                               JENIFER WICKS




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                                 CERTIFICATE OF SERVICE

          I hereby certify that I will electronically file the foregoing with the Clerk of Court

using the CM/ECF system which will then send a notification of such filing to the other parties

in this matter.


                                              /s/ Jenifer Wicks
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                                              JENIFER WICKS




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